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    IT IS ORDERED as set forth below:



    Date: September 10, 2019
                                                              _____________________________________
                                                                         Wendy L. Hagenau
                                                                    U.S. Bankruptcy Court Judge

_______________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                  Debtors.                           )           Jointly Administered
                                                     )

                     ORDER SHORTENING NOTICE AND SCHEDULING
                 EXPEDITED HEARING ON BIDDING PROCEDURES MOTION

         This matter is before the Court on the Debtors’ Motion for an Order Shortening Notice

and      Scheduling    an     Expedited    Hearing       on   Debtors’     Bidding     Procedures      Motion

[Docket No. 112] (the “Motion”) of Eat Here Brands, LLC, Babalu Atlanta #1 LLC, Babalu

Atlanta #2 LLC, Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu Memphis #2

LLC, Babalu, LLC, and Babalu Birmingham #1 LLC (collectively, the “Debtors”).

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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.



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All capitalized terms used but not defined in this Order and Notice shall have the meanings given

to them in the Motion.

        The Court has considered the Motion, the Bidding Procedures Motion, the Final DIP

Order, and all other matters reflected in the record in these Bankruptcy Cases.        It appears that

the Court has jurisdiction over this proceeding; that this is a core proceeding; that notice of the

Motion has been given to: (a) the parties identified on the Master Service List in these

Bankruptcy Cases as approved by this Court’s Order Establishing Notice and Administrative

Procedures [Docket No. 33], and (b) via electronic mail on all persons or entities known or

reasonably believed to have asserted an interest in the Acquired Assets; that no further notice is

necessary; that the relief sought in the Motion is in the best interests of the Debtors, their estates,

and their creditors; and that good and sufficient cause exists to grant the relief requested in the

Motion.

        Accordingly, it is hereby ORDERED and NOTICE is hereby given that:

        1.       The Motion is GRANTED.

        2.       A hearing will be held on the September 26, 2019 at 1:30 p.m. (Eastern) in

Courtroom 1403, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, Georgia

30303 (the “Hearing”) on the Bidding Procedures Motion, and that objections, if any, must be

filed with the Court on or before 4:00 p.m. (Eastern) on September 23, 2019

(the “Objection Deadline”) and served on the following parties: (a) counsel to the Debtors,

Arnall Golden Gregory LLP, 171 17th Street, N.W., Suite 2100, Atlanta, Georgia 30363-1031,

Attn: Darryl Laddin; (b) counsel to the Stalking Horse Bidder, 999 S. Shady Grove Road, Suite

500, Memphis, Tennessee 38120, Attn: John A. Bobango; (c) counsel for Origin Bank, Morris,

Manning & Martin, LLP, 3343 Peachtree Road, N.E., Suite 1600, Atlanta, Georgia 30326, Attn.




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Frank W. DeBorde, (d) counsel for the Official Committee of Unsecured Creditors, Scroggins &

Williamson, P.C., 4401 Northside Parkway, Suite 450, Atlanta, Georgia 30327, Attn. Hayden

Kepner, Jr.; and (e) the Office of the United States Trustee, 75 Ted Turner Drive, S.W., Room

362, Atlanta, Georgia 30303.

        3.       Notice of the Motion is hereby shortened, and counsel for the Debtors is directed

to serve a copy of this Order and Notice on: (i) the entire creditor matrix in each of the

Bankruptcy Cases and (ii) via electronic mail on all persons or entities known or reasonably

believed to have an interest in in purchasing the Acquired Assets within two (2) days of the entry

of this Order and to file a certificate of service with the Clerk of the Court.

        4.       The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

                                    *** END OF ORDER ***

Prepared and presented by:

ARNALL GOLDEN GREGORY LLP

/s/ Darryl S. Laddin
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